Case 2:04-cr-20502-SH|\/| Document 30 Filed 04/21/05 Page 1 of 2 Page|D 39

IN THE UNITED s'rATEs DISTRICT coUR'I' 5"`-"`*~'--
FoR THE wEsTERN DISTRICT oF TENNESSEE
WESTERN DIVISION 35 11 31 1 ';s w

 

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UNITED STA'I‘ES OF AMERICA, 10

Plaintiff,
CR. NO. O4-20502~Ma

VS.

JEFFREY HARDIN,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on March 25, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial date to
the rotation docket beginning May 2, 2005 at 9:30 a.m., with a
report date of Thursday, April 21, 2005 at 2:00 p.m.

The period fronl March 25, 2005 through May 13, 2005 is
excludable under 18 U.S.C. § BlSl(h)(B)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT rs so oRDERED this ?"` n\ day of April, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:04-CR-20502 Was distributed by faX, mail, or direct printing on
April 21 , 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

